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                         UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

GROUNDFISH FORUM, INC.,

                 Plaintiff,

      v.

NATIONAL MARINE FISHERIES
SERVICE; NATIONAL OCEANIC AND
ATMOSPHERIC ADMINISTRATION;
GINA RAIMONDO, in her official capacity
as the United States Secretary of Commerce;
and JANET COIT, in her official capacity as
Assistant Administrator, National Oceanic
and Atmospheric Administration,
                                                 Case No. 3:23-cv-00283-JMK
                 Defendants.

       PLAINTIFF’S OPPOSITION TO MOTION TO EXTEND BRIEFING
                            DEADLINES
       Plaintiff Groundfish Forum, Inc. (“Plaintiff”) respectfully provides this response

in opposition to Federal Defendants’ and Intervenor-Defendants’ (collectively

“Defendants”) Motion to Extend Briefing Deadlines (“Motion”). See Dkt. 27. For the

reasons set forth below, Plaintiff opposes Defendants’ requested 30-day extension of the

deadline for the filing of response briefs but does not oppose a 14-day extension, as is

allowed by the Court’s current scheduling order.

                            I. RELEVANT BACKGROUND

       On December 19, 2023, Plaintiff filed its Complaint and Petition for Review. Dkt.

1. On January 26, 2024, Plaintiff and Federal Defendants filed a Joint Scheduling

Proposal, requesting the Court to modify certain deadlines in Local Rule 16.3. Dkt. 7.

Specifically, Plaintiff and Federal Defendants requested the following deadlines:

        Plaintiff’s opening summary judgment brief due April 19, 2024;

        Federal Defendants to file response brief 60 days later on June 18, 2024; and

        Plaintiff’s reply brief due 23 days later on July 11, 2024.

Id. at 4. Pursuant to 16 U.S.C. § 1855(f)(4), Plaintiff requested that the Court “assign the

matter for hearing at the earliest possible date” and “expedite the matter in every possible

way” by issuing a summary judgment ruling by no later than November 1, 2024. Id. at 5.

       On January 30, 2024, the Court entered its Administrative Appeal Scheduling

Order (“Scheduling Order”). See Dkt. 8. The Court granted the parties’ request to modify

the briefing schedule but did not adopt all of the parties’ proposed deadlines. See id. at 1-

3. As to summary judgment briefing, the Court established the following deadlines:

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        Plaintiff’s opening brief due April 26, 2024;

        Federal Defendants to file response brief 30 days later on May 28, 2024; and

        Plaintiff’s reply to Federal Defendants’ brief due 14 days later on June 11, 2024.

Id. at 2. The Scheduling Order states that “[o]ne extension of time of up to 14 days will

be routinely granted for each filing” and “[t]he parties may jointly move the Court for an

amended scheduling order should the complexity of the underlying case so necessitate.”

Id. at 3. The Court denied Plaintiff’s request to commit to issuing a final decision by

November 1, 2024, but committed to “work with the parties to reach a just and speedy

resolution of this case.” Id. The Court also invited Plaintiff “to request expedited rulings

as motions are filed.” Id.

       On February 6, 2024, Intervenor-Defendants filed their motion to intervene,

stating that “their participation will not unduly delay this case or otherwise prejudice the

existing parties.” Dkt. 10 at 6. On February 20, 2024, Plaintiff filed a conditional non-

opposition to Intervenor-Defendants’ motion on the basis that Intervenor-Defendants

“agreed to comply with the existing case management schedule and page limits, subject

to [their] right to request additional pages if Plaintiff does so.” Dkt. 15 at 3. On February

21, 2024, the Court granted Intervenor-Defendants’ motion to intervene. Dkt. 16.

       On March 4, 2024, Federal Defendants requested a one-week extension to file the

administrative record (on March 12 instead of March 5). Dkt. 17. Plaintiff did not oppose

this request, see id. at 2, and the Court granted the request, see Dkt. 18. On March 12,

2024, Federal Defendants filed the administrative record, which encompassed over

52,900 pages and more than 30 audio files. Dkt. 20; Dkt. 20-1. Certain documents were
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missing from the record, however, and, on April 19, 2024, Federal Defendants filed a

7,500-page supplement to the administrative record. See Dkt. 25-2. Plaintiff completed its

review of the administrative record and filed its 25-page opening brief on April 26, 2024,

in compliance with the Court’s Scheduling Order. See Dkt. 26.

                                     II. ARGUMENT

         Federal Defendants request exactly the same amount of time for their response

brief (60 days) that this Court already considered and rejected in its Scheduling Order.

They claim they need the additional time because of “significant competing deadlines,”

but they do not indicate whether those deadlines arose after the Court’s Scheduling Order

or if they existed prior (nor do they provide any declaration attesting to them). See Dkt.

27 at 3-4. Intervenor-Defendants also do not say whether their counsel’s obligations arose

before or after they committed to abide by the Scheduling Order (nor do they provide a

declaration). See id. at 5-6. For the following reasons, the Court should deny the Motion

and, if it determines some additional time is needed, grant a 14-day extension.

         First, if Federal Defendants’ claimed obligations existed before the Scheduling

Order, then they should have moved for reconsideration within the deadline provided by

the Local Rules (February 6, 20241) instead of waiting 87 days past that deadline (and

until after Plaintiff timely filed its opening brief) to seek the same relief that was already

presented and denied.




1
    See Local Rule 7.3(h)(2).
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       Second, to the extent Defendants’ claimed obligations arose after the Scheduling

Order, they do not indicate whether they have attempted to seek extensions in the

competing matters. Defendants may wish to give this case the lowest priority in their

scheduling of obligations, but this case is governed by the Magnuson Act and thus

required, upon motion, to be “expedite[d] . . . in every possible way.” See 16 U.S.C.

§ 1855(f)(4).2

       Third, the Scheduling Order provides that “[t]he parties may jointly move the

Court for an amended scheduling order should the complexity of the underlying case so

necessitate.” Dkt. 8 at 3. This standard is not satisfied. The parties have not jointly moved

for an amended scheduling order and Defendants have provided no reason why “the

complexity of the underlying case” necessitates a 30-day extension. In fact, the opposite

is true. Plaintiff filed a 25-page opening brief, in compliance with the Scheduling Order,

that narrows this case down to two primary Magnuson Act claims and one NEPA claim.3

There is no “complexity” that necessitates 60 days to respond to a 25-page summary

judgment motion.

       Fourth, Plaintiff filed a non-opposition to Intervenor-Defendants’ motion to

intervene based, in significant part, on the representation that they would “comply with




2
 At the Court’s invitation (Dkt. 8 at 3), Plaintiff plans to file another request for
expedited resolution of this matter (i.e., by November 1, 2024) immediately upon
conclusion of summary judgment briefing, along with any request for oral argument.
3
  Plaintiff’s understanding is that Ms. Sundook (Federal Defendants’ counsel who
identifies the most competing obligations) is only responsible for briefing the single
NEPA claim in this case.
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the existing case management schedule and page limits.” See Declaration of Ryan Steen

(“Steen Decl.”), Ex. A at 1-2. Intervenor-Defendants’ counsel specifically represented

that “I will not go to the court with a proposal to alter the schedule without your

agreement.” Ex. A at 1. But that is exactly what Intervenor-Defendants have done. This is

gamesmanship, not a demonstration of complexity that necessitates a change in schedule.

       Finally, Federal Defendants incorrectly claim that “Plaintiff will not be prejudiced

by this amendment to the schedule . . . .” Dkt. 27 at 6. As Plaintiff’s counsel conveyed to

Federal Defendants’ counsel in advance of the filing of the Motion, Plaintiff is

significantly prejudiced by Federal Defendants’ request. After the Scheduling Order was

established (and after Federal Defendants did not move for reconsideration and

Intervenor-Defendants committed to abide by the Court’s Scheduling Order), Plaintiff’s

counsel scheduled vacations during the first three weeks of July. Specifically, Mr. Steen

will be on vacation with his family on July 1, 2, and 5; Mr. Morgan will be on vacation

with his family on July 8-12; and Mr. Smith will be on vacation with his family on July

3-9 and 17-21. See Steen Decl. ¶ 2.

       Federal Defendants (having been notified of these vacations) apparently see these

commitments as irrelevant because, they say, “Plaintiff originally agreed to a deadline of

July 11, 2024 for its reply brief.” Dkt. 27 at 6. But Plaintiff’s counsel scheduled summer

vacations after the briefing schedule for this case was established, in reliance, in part, on

the Court’s Scheduling Order. Steen Decl. ¶ 2. Additionally, when Plaintiff earlier agreed

to the July 11 deadline, that was under a schedule in which Federal Defendants would



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have produced their response brief on June 18, not June 27 as they are currently

proposing. Dkt. 7 at 4.

       As it stands, Federal Defendants have requested a reply briefing period for

Plaintiff of June 27 to July 11—a 14-day period of time when all three of Plaintiff’s

counsel are gone for at least a significant part of the time and when a major federal

holiday occurs. To have sufficient time to prepare reply briefs in response to two 25-page

briefs, Plaintiff would, at a minimum, need to request a routine 14-day extension and

perhaps a longer extension given the absence of counsel during the first portion of an

extended reply briefing period (i.e., the time when the brief must be drafted in order to

allow for adequate client review and revisions on the back end of the time period).4 Steen

Decl. ¶ 3. This will push the completion of summary judgment briefing to the end of July

or early August. Plaintiff is very concerned that this will compromise the Court’s ability

to issue a decision by November 1, 2024 (should the Court be inclined to do so). In short,

Plaintiff is prejudiced by the requested extension and the resulting delay.

                                   III. CONCLUSION

       The Scheduling Order gives Defendants sufficient time to respond to Plaintiff’s

25-page opening brief, particularly given Plaintiff’s non-opposition to the routine 14-day

extension. Plaintiff respectfully requests that the Court deny the Motion.




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 Intervenor-Defendants entered the case after the schedule was established. Plaintiff will
now need to prepare two reply briefs—one in response to Federal Defendants’ response
brief and one in response to Intervenor-Defendants’ response brief—during the reply
briefing period.
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DATED: May 10, 2024.                 STOEL RIVES LLP


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                               CERTIFICATE OF SERVICE

         I hereby certify that on May 10, 2024, I filed a true and correct copy of the

foregoing document with the Clerk of the Court for the United States District Court of

Alaska by using the CM/ECF system. Participants in Case No. 3:23-cv-00283-JMK who

are registered CM/ECF users will be served by the CM/ECF system.



                                            /s/ Ryan P. Steen
                                            Ryan P. Steen
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